         Case 1:20-po-05025-TJC Document 5 Filed 07/17/20 Page 1 of 1




                     UNITED STATES DISTRICT COURT
                         DISTRICT OF MONTANA
                           BILLINGS DIVISION



 UNITED STATES OF                           PO-20-5025-BLG-TJC
 AMERICA,
                                            Violation No. FBLG0000
                    Plaintiff,              Location Code: M6H

 vs.
                                                ORDER
 TIMOTHY D. STUCK,

                    Defendant.



       IT IS HEREBY ORDERED that the Central Violations Bureau shall refund

$230.00 to the defendant, Timothy D. Stuck. The case was dismissed by the

United States Attorney’s Office on July 14, 2020.

       DATED this 17th day of July 2020.

                                      ________________________________
                                      TIMOTHY J. CAVAN
                                      United States Magistrate Judge
